Case 19-18880 Doc1 Filed 06/28/19 paw I<¥ Qo

Fill in this information to identify your case:

    
    

United States Bankruptcy Court for the:
DISTRICT OF MARYLAND, BALTIMORE DIVISION
Case number (if known) Chapter you are filing under:
BB chapter 7
Cl Chapter 11
0 Chapter 12
CJ Chapter 13

Official Form 101 Gh ol 63H , 00 TF p

Voluntary Petition for Individuals Filing for Bankruptcy 42/7

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcyase together—called a join!
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in all
of the forms.

 

 

Be as complete and accurate as possible, If two married people are filing together, both are equally responsible for supplying correct information, If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only :in-a Joint Case):

1. Your full name

Write the name thatison Beth

 

 

 

your government-issued First name First name

picture identification (for

example, your driver's Nanonka

license or passport). Middie name Middle name

Bring your picture s

ye : anders

identification to your meetin: - -

with the trustee. 4 ing Last name and Suffix (Sr., Jr., Il, Ul) Last name and Suffix (Sr., dr., Il, UW}

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXKeXX-BE85
Individual Taxpayer
Identification number
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
 

Case 19-18880 Doc 1

Debtor 4

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

Sanders, Beth Nanonka

About Debtor 1:

MBI have not used any business name or EINs,

Filed 06/28/19 Page 2 of 43

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

0 thave not used any business name or EINs.

 

Business name(s)

Business name(s)

 

EINs

EINs

 

5. Where you live

618 Crucible Ct
Millersville, MD 21108-1539
Number, Street, City, State & ZIP Code

Anne Arundel
County

ff your mailing address is different from the one
above, fill it in here, Note that the court will send any
notices to you at this mailing address,

If Debtor 2 lives at a different address:

Number, Street, City, State & ZIP Code

County

If Debtor 2's mailing address is different from yours, fill it in
here. Note that the court will send any notices to this mailing
address.

 

Number, P.O. Box, Street, City, State & ZIP Cade

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

MH Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

Os thave another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

Os Over the last 180 days before filing this petition, | have
lived in this district longer than in any other district.

Os thave another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

 

page 2
 

 

Case 19-18880 Doc1 Filed 06/28/19 Page 3 of 43

Debtor 1 Sanders, Beth Nanonka Case number {if known)

 

Gea t=" the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form
Bankruptcy Code you are 20710)), Also, go to the top of page 1 and check the appropriate box,
choosing to file under
Ml chapter 7
O Chapter 41
C) Chapter 12
0 Chapter 13
8. How you willpaythe fee [] 1 will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money order.
If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
pre-printed address.
O__sIneed to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
Filing Fee in instalments (Official Form 103A).
| request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
your family size and you are unable to pay the fee in installments). if you choose this option, you must fill out the Application
to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for No.
bankruptcy within the fast
8 years? 0 Yes,
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy cases ENo
pending or being filed by
a spouse who is not filing O yes.
this case with you, or by
a business partner, or by
an affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your Bno Go to line 12.
residence? .
O ves. Has your landlord obtained an eviction judgment against you?
oO No. Go to line 12.
Oo Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
bankruptcy petition.
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
 

Case 19-18880 Doc1 Filed 06/28/19 Page 4 of 43

Debtor 1 Sanders, Beth Nanonka Case number (if known)

EERE Report About Any Businesses You Own as a Sole Proprietor

 

 

 

12. Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership,
or LLC,

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

No. Go to Part 4.

O Yes. Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 141 U.S.C. § 101(27A))

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C, § 101(6))

None of the above

ooaqaq0g

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

if you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it can set appropriate
deadiines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
U.S.C, 1116(1)(B).

Mino. am not filing under Chapter 11.

ONo. lam filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.

DO ves. | am filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any
property that poses or is

Wo.

alleged to pose a threat of (1 Yes,

imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

What is the hazard?

 

If immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case 19-18880 Doc 1

Debtor1 Sanders, Beth Nanonka

Explain Your Efforts to Receive a Briefing About Credit Counseling

Filed 06/28/19 Page 5 of 43

Case number (if known)

 

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before you
file for bankruptey. You
must truthfully check one of
the following choices. If you
cannot do so, you are not
eligible to file,

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection
activities again.

About. Debtor 1:

About Debtor 2 (Spouse:Only in a Joint Case):

You must check one: You must check one:

we oil received a briefing from an approved credit Os Ireceived a briefing from an approved credit
counseling agency within the 180 days before | counseling agency within the 180 days before I filed
filed this bankruptcy petition, and I received a this bankruptcy petition, and | received a certificate of
certificate of completion. completion,

Attach a copy of the certificate and the payment plan, Attach a copy of the certificate and the payment plan, if any,
if any, that you developed with the agency. that you developed with the agency.

0 sIreceived a briefing from an approved credit C1 treceived a briefing from an approved credit
counseling agency within the 180 days before I counseling agency within the 180 days before I filed
filed this bankruptcy petition, but | do not have a this bankruptcy petition, but | do not have a certificate
certificate of completion. of completion.

Within 14 days after you file this bankruptcy petition, Within 14 days after you file this bankruptcy petition, you
you MUST file a copy of the certificate and payment MUST file a copy of the certificate and payment plan, if any.
plan, if any.

Os Icertify that | asked for credit counseling OI certify that | asked for credit counseling services

services from an approved agency, but was
unable to obtain those services during the 7
days after I made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you were
unable to obtain it before you filed for bankruptcy, and
what exigent circumstances required you to file this
case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court Is satisfied with your reasons, you must
Still receive a briefing within 30 days after you file,
You must file a certificate from the approved agency,
along with a copy of the payment plan you developed,
if any. If you do not do so, your case may be
dismissed.

Any extension of the 30-day deadline is granted onty

for cause and is limited to a maximum of 15 days.

tam not required to receive a briefing about oO
credit counseling because of:

0 _siIncapacity.
Ihave a mental illness or a mental deficiency
that makes me incapable of realizing or making
rational decisions about finances.

O_sDisability.
My physical disability causes me to be unable
to participate in a briefing in person, by phone,
or through the intemet, even after | reasonably
tried to do so,

Active duty.
lam currently on active military duty in a
military combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for
waiver credit counseding with the court.

from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made to
obtain the briefing, why you were unable to obtain it before
you filed for bankruptcy, and what exigent circumstances
required you to file this case,

Your case may be dismissed if the court is dissatisfied with
your reasons for not receiving a briefing before you filed for
bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must file
a certificate from the approved agency, along with a copy of
the payment plan you developed, if any. If you do not do so,
your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of:

O Incapacity.
Ihave a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_#éDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or through
the internet, even after | reasonably tried to do so.

O Active duty.
| am currently on active military duty in a military
combat Zone,

If you believe you are not required to receive a briefing about
credit counseling, you must file a motion for waiver of credit
counseling with the court.

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 5
 

Case 19-18880 Doc 1

Debtor 1

Sanders, Beth Nanonka

 

 

Filed 06/28/19 Page 6 of 43

Case number (if known)

 

Gta answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a, Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “Incurred by an
individual primarily for a personal, family, or household purpose.”

O No. Go to line 16b.
Ml Ves. Go to line 17.

16b. Are your debts primarily business debts? Business dabts are debts that you incurred to obtain money
for a business or investment or through the operation of the business or investment.

D1 No. Go to line 16c.
O Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and

ONo. lam not filing under Chapter 7. Go to line 18.

Yes, | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses HNno
are paid that funds will be
available for distribution 0 Yes
to unsecured creditors?
18. How many Creditors do 449 O 1,000-5,000 01 25,001-50,000
you estimate that you - -
ee? C1 50-90 11 5001-10,000 0 50,001-100,000
C1 100-199 OD 10,001-25,000 O More than100,000
C) 200-999
19. How much do you Wl $0 - $50,000 C1 $1,000,001 - $10 million 01 $500,000,001 - $1 billion
estimate your assets to 6 007 - $100,000 C2 $10,000,001 - $50 million 1 $1,000,000,001 - $40 bition

be worth?

0 $100,001 - $500,000
TD $500,001 - $1 million

0 $50,000,001 - $100 million
0 $100,000,001 - $500 million

11 $10,000,000,001 - $50 billion
O More than $50 billion

 

20. How much do you
estimate your liabilities to
be?

CJ $0 - $50,000

HI $50,001 - $100,000
D $100,001 - $500,000
0 $500,001 - $1 milion

CI $1,000,001 - $10 million

01 $10,000,001 - $50 million
0 $50,000,001 - $100 million
1 $100,000,001 - $500 million

1 $500,000,004 - $1 billion

0 $1,000,000,001 - $10 billion
0 $10,000,000,001 - $50 billion
0 More than $50 billion

 

Sign Below

For you

[have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If] have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this document, |

have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

   

| understand making a false statement, Zonceafn
case can result in fines up to $250,004;
/s/ Beth Nanonka Sanders

erup to 20 years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

Beth Nanonka Sanders Cc’ Signature of Debtor 2

Signature of Debtor 4

Executedon June 28, 2019 Executed on
ee,
MM /DD/YYYY MM/DO/YYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 6
Case 19-18880 Doc1 Filed 06/28/19 Page7 of 43

Debtor 1 Bath

Firat Name Middle Name.

Sanders case nunbe cin

Last Name

 

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

 

Official Form 101

 

x

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or praperly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

OQ no

es

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

On

Yes

CpeaePay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

C1) Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119),

 

By signing here, | acknowledge that | understand the risks involved in filing without an attomey. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to | rights or property if | do not properly handle the case.

c —— x
Signature of Debtor 1

   

Signature of Debtor 2

{ q Date

Date _————————___—
MM/ DD /YYYY

Contact phone Contact phone

Cell phone 4 45 ~ 1 (ola ~ luo ( Ss Cell phone

Email address Email address

      

Voluntary Petition for Individuals Filing for Bankruptcy page 8
 

 

Case 19-18880 Doc1 Filed 06/28/19 Page 8 of 43

URE ie e oR Tel Us meal m etsy 3

Debtor 1 Beth Nanonka Sanders
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF MARYLAND, BALTIMORE DIVISION

Case number
(if known)

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your.assets
Valle of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

 

 

 

1a, Copy line 55, Total real estate, from Schedule A/B $ 0.00
1b. Copy line 62, Total personal property, fram Schedule A/B $ 850.00
1c. Copy line 63, Total of all property on Schedule A/B $ 850.00

Summarize Your Liabilities

Your liabilities
Amount you owe.

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column AAmount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 9,055.00
3, Schedule E/F: Creditors Wha Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) fram tine 6e Bchedule G/F... .cccscssscssccecceesesers $ 0.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] Schedule E/F........scssssecsceseesense $ 51,970.62

LL

 

Your total liabilities | $ 61,025.62

 

 

 

Summarize Your Income and Expenses

4. Schedule I: Your Incame(Official Form 1061)
Copy your combined monthly income from line 12 OBCHEGUIO I... csecscssssescesseseseessecsssecsuecsnscsserssesssussenssuectsnecaeses $ 3,078.35

5. Schedule J: Your Expenses (Official Form 1064)
Copy your monthly expenses from line 22c of Schedule VJ...

 

$ 3,209.00
Answer These Questions for Administrative and al Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
(No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Yes
7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
purpose,” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C§ 159.

{1 Your debts are not primarily consumer debts. You have nothing to report an this part of the form. Check this box and submit this form to the
court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

Software Copyright {c) 2019 CINGroup - www.cincompass.com

page 1 of 2
 

Case 19-18880 Doc1 Filed 06/28/19 Page 9 of 43

 

 

 

 

 

 

 

 

 

 

Debtor1 Sanders, Beth Nanonka Case number (if known)
8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11;OR, Form 122C~1 Line 14. 256.41
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
From Part 4.on Schedule £/F, copy the following:
9a, Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d, Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) $ 9.00
$f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

Software Copyright (c} 2019 CiINGroup - www,cincompass.com
 

 

 

Case 19-18880 Doc1 Filed 06/28/19 Page 10 of 43

UCC enim Cl ae EUR eR Te R

 

    

 

 

 

  

Debtor 4 Beth Nanonka Sanders
First Name Middle Name Last Name 3
Debtor 2 Mee en Pal
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: DISTRICT OF MARYLAND, BALTIMORE DIVISION 2g} § JUN 28 PH 3
: ers
Case number é 3

 

 

Q

  

greek if this is an
mendes
he

 

     
 

py

‘

  

Official Form 106A/B
Schedule A/B: Property 412/15

In each category, separately list and describe items, List an asset only once. ff an asset fits in more than one category, list the asset in the category where you
think it fits best, Be as complete and accurate as possible. tf two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question,

Describe Each Residence, Building, Land, or Other Real Estate You Qwn or Have an Interest In
1. Do you awn or have any legal or equitable Interest in any residence, bullding, land, or similar property?

HE No. Goto Part 2.
CO) yes. Where is the property?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

ONo
MW ves
. Chevrolet Do not deduct secured.daims or exemptions, Put
3.4. Make: . Who has an Interest in the property? Check one the amount of any secured clains on Schedule D:
Model: Equinox AWD HH pebtor 1 only Creditors: Who Have Claims Secured by Property.
Year. 2006 1 Debtor 2 only Current value of the Current value of the
Appraximate mileage: D1 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: D1 At least one of the debtors and another
C1 check if this is community property $0.00 $0.00
(sea instructions)

 

 

 

 

&

. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Mino
O Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here. => $0.00

 

 

 

Describe Your Personal and Household Kems

Do you own or have any legal or equitable interest in any of the following items? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

Official Farm 106A/B Schedule A/B: Property
Software Copyright (c) 2019 CiNGroup - www.cincompass.com

page 1

   
 
 
 

 

Case 19-18880 Doc1 Filed 06/28/19 Page 11 of 43

Debtor 1 Sanders, Beth Nanonka Case number (if known)

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
ONo

MI Yes. Describe...

 

 

 

 

[2 bedroom sets ] $250.00
[1 living room | $200.00

 

 

7, Electronics
Examples; Televisions and radios; audio, video, stereo, and digital equipment, computers, printers, scanners; music collections: electronic devices
including cell phones, cameras, media players, games
ONo

MH Yes. Describe.....

 

[3 televisions | $400.00

 

8. Collectibles of value
Examples: Antiques and figurines, paintings, prints, or other artwork; books, Pictures, or other art objects; stamp, coin, or baseball card collections; other
collections, memorabilia, collectibles
HNno

O Yes. Describe...

9, Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
instruments
MNo

D1 Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

MNo
O Yes. Describe...

4

=

. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

MNo
CD Yes. Describe...

12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
HNo
O Yes. Describe...

13. Non-farm animals
Examples: Dogs, cats, birds, horses

MNo
O Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
MENo
G Yes. Give spectfic information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
Part 3, Write that number here $850.00

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest In any of the following? Current value: of the
portion you own?
Do not deduct secured
claims or exemptions.

Official Form 106A/B Schedule A/B: Property page 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com

 

 
 

Case 19-18880 Doc1 Filed 06/28/19 Page 12 of 43

 

 

Debtor f Sanders, Beth Nanonka Case number (if known)
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
BNo
O Yes.

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
WENo

DD Y68......csoetesssessnsnee Institution name:

18, Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
HINo

OD Ves... esses: Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

HENo

0 Yes. Give specific information about them.. bese
Name of entity: % of ownership:

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory nates, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

WNo
O Yes. Give specific information about them
Issuer name:

2

=

. Retirement or pension accounts
Examples. Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
MNo

D Yes. List each account separately,
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), tetecommunications companies, or others

HNo
TD YES. essscssscssessesees Institution name or Individual:
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
HNo
DD VeS.wesscess Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

MNo
DD Yes... Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
No

O Yes. Give specific information about them...

 

26.

D

Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from rayalties and licensing agreements

HNo
O Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

MNo

C1 Yes. Give specific information about them...

Official Form 106A/B Schedule A/B: Property page 3
Software Copyright (c) 2018 CINGroup - www.cincompass.com

 
 

 

Case 19-18880 Doc1 Filed 06/28/19 Page 13 of 43

Debtor 1 Sanders, Beth Nanonka Case number (if known)

 

Money.or property owed to you? Current value of the
portion you own?
Do not deduct'secured
claims or exemptions.

28. Tax refunds owed to you
BNo
O Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

BNo
O Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security benefits;
unpaid loans you made to someone else

MNo
Q Yes. Give specific information...

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, of renter’s insurance

Hno

0 Yes, Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32, Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
died.

BNo
O Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

BNo
O Yes. Describe each claim.........

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
BNo
O Yes. Describe each claim.........

35, Any financial assets you did not already list
WINo
C1 Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
Part 4. Write that number here. $0.00

 

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37, Do you own or have any legal or equitable Interest In any business-related property?
WE No. Go to Part 6.
D1 Yes. Go toline 38.

LClas Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
if you own or have an interest in farmland, list it in Part 4.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-+elated property?

HH No. Goto Part 7. .
Official Farm 106A/B Schedule A/B: Property page 4
Software Capyright (c) 2019 CINGroup - www.cincompass.com
 

Case 19-18880 Doc1 Filed 06/28/19 Page 14 of 43

Debtor 1 Sanders, Beth Nanonka Case number (if known)

 

D ves. Go te line 47.

TEREAEEEE Describe All Property You Own or Have an Interest In That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
BNo
O Yes. Give specific information...

54. Add the dollar value of all of your entries from Part 7. Write that MUMbEr Here secssssesessescsenreotsentavesotenee $0.00

}Pars:  [ERNUG Totals of Each Part of this Form

 

 

 

 

 

 

55. Part 1: Total real estate, line 2 $0.00
56. Part 2: Total vehicles, line 5 $0.00

57. Part 3: Total personal and household items, line 15 $850.00

58. Part 4: Total financial assets, line 36 $0.00

59. Part 5: Total business-related property, line 45 $0.00

60, Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $850.00 | Copy personal property total $850.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $850.00
Official Form 106A/8 Schedule A/B: Property page 5

Software Copyright (c) 2019 CINGroup - www.cincompass.com

 

 
 

Case 19-18880 Doc1 Filed 06/28/19 Page 15 of 43

Fill in this information to identify your case:

Debtor 1 Beth Nanonka Sanders
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF MARYLAND, BALTIMORE DIVISION

 

Case number
(if known) 0 Check if this is an
amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 49

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information, Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

Gorm Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

 

WB You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C1 You are claiming federal exemptions. 11 U.S.C. § §22(b){2)

2. For any property you fist on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and fine on Current value of the Amount of the exemption you claim Specific.laws that allow exemption
Schedule A/B that lists this property portion you own
Capy tha value from Cheek only one box for each exemption.
Schedule A/B
Brief description: oO
Line from Schedule A/B.

 

O 100% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

@ No
C1 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
QO Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 1

Software Copyright (c) 2019 CiNGroup - www.cincompass.cam
 

 

Case 19-18880 Doc1 Filed 06/28/19 Page 16 of 43

TTR Rel ce Rok eam Tel ater CH

Debtor 1 Beth Nanonka Sanders
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF MARYLAND, BALTIMORE DIVISION

 

Case number
{if known)

©] Check if this is an
amended filing

 

 

Official Form 1060
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible, If two married people are filing together, both are equally responsible for supplying correct information, If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach It to this form. On the top of any additional pages, write your name and case number (if
known),
1. Do any creditors have claims secured by your property?

C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

WM Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

 

 

2. List afl secured claims. Hf a creditor has more than ane secured claim, list the creditor séparately Column A Column B Column ¢
for each daim, If more than ana creditor has a particular claim, list the other creditors in Part 2, As Amount of clalm Value of collateral Unsecured
much as possible, [ist the claims in alphabetical order according to the creditor 's name. Do not deduct the that supports this portion
value of coflateral. claim lfany

[2.1] CNAC Auto Finance Describe the property that secures the claim: $9,055.00 $0.00 $9,055.00

Creditors Name 2006 Chevrolet Equinox AWD

2345 W Jefferson St # As of the dato you fife, the claim is: Check all that

Strreet apply.

Joliet, IL 60435-6445 O Contingent

Number, Street, City, State & Zip Code oO Unliquidated

O21 disputed
Who owes the debt? Check one, Nature of lien. Check all that apply.
a Debtor 1 only a An agreement you made (such as mortgage or secured
01 Debtor 2 only car loan)
01 Debtor 1 and Debtor 2 only Oo Statutory lien (such as tax flen, mechanic's lien)
D1 Atleast one of the debtors and another =] Judgment lien from a lawsuit
O Check if this claim relates to a D1 other {including a right to offset)
community debt

Oate debt was incurred Last 4 digits of account number
Add the doWlar value of your entries in Column A on this page. Write that number here: $9,055.00
K this is the last page of your form, add the doMar value totals from all pages. $9,055.00
Write that number here: ‘

 

 

 

DREGE List Others to Be Notified for a Debt That You Already Listed

Use thls page only if you have others to be notified about your bankruptcy for a debt that you already Usted In Part 1. For example, if.a collection agency Is
trying to collect from you for a debt you owe to someone else, fist the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor:for any of the debts that you listed in Part 4, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do nat fill out or submit this page.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
Software Copyright (c) 2019 Ci{NGroup - www.cincompass.com
Case 19-18880 Doc1 Filed 06/28/19 Page 17 of 43

Fill in this information to identify your case:

Debtor 1 Beth Nanonka Sanders

First Name Middle Name Cast Name

Debtor 2
(Spouse if, filing)

 

Firat Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF MARYLAND, BALTIMORE DIVISION

 

Case number
(if known)

CT] Check if this is an
amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY clatms. List the other party to
any executory contracts or unexpired leases that could result in a claim, Also Ist executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach

 

 

the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known),

List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
WE No. Go to Part 2.
O ves.

aa

 

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

>

O1 No. You have nothing to report in this part. Submit this form to the court with your other schedules,
Wives,

List all of your:nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than-one nonpriority
unsecured claim, list the creditor separately for each claim, For each claim listed, identify what type. of claim it is, Do notlist claims already induded in Part 1. If more
than one.creditor holds a particular claim, list the .ather creditors in Part.3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part

2,

A and G Management

Nanpriority Craditor's Nama

7779 New York Ln
Glen Burnie, MD 21061-5616
Number Street City State Zip Code

Who incurred the debt? Check one.

a Debtor 1 only

C1 debtor 2 only

O Debtor 1 and Debtor 2 only

D Atleast one of the debtors and another

O Check if this claim is for a community
debt
Is the claim subject to offset?

Hino
O yes

Total claim

Last 4 digits of account number $2,631.42

When was the debt incurred?

As of the date yau file, the claim is: Check all that apply

Oo Contingent

oO Unliquidated

Oo Disputed

Type of NONPRIORITY unsecured claim:
D Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O pebts to pension or profit-sharing plans, and other similar debts

WH other. Specify

 

 

Official Form 106 E/F

Software Copyright (c) 2019 CINGroup - www.cincompass.com

Schedule E/F; Creditors Who Have Unsecured Clalms

Page t of 7
G65829
Debtor 1 Sanders, Beth Nanonka

Aarons Sale and Lease

Nonpriority Creditor's Name

1015 Cobb Place Bivd NW
Kennesaw, GA 30144-3672
Number Street City State Zip Code

Who incurred the debt? Check one,

Wi bebtor 1 only

C1 Debtor 2 only

01 Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another
C1 Check if this claim is for a community

Case 19-18880 Doc 1

 

Filed 06/28/19 Page 18 of 43

Case number (f known)

Last 4 digits of account number

$745.00

 

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

O Contingent
o Unliquidated

0 Disputed
Type of NONPRIORITY unsecured claim:
OD Student loans

 

 

 

 

Nonpriority Creditors Name

PO Box 10330

Fort Wayne, IN 46851-0330
Number Street City State Zip Code

Who incurred the debt? Check one.

a Debtor 1 only

O Debtor 2 only

D Debtor 1 and Debtor 2 only

D1 Atteast one of the dabtors and another

O check if this claim is for a community
debt
Is the claim subject to offset?

Mino
0 ves

debt 0D Obligations arising out of a separation agreement or divarce that you did nat
Is the clalm subject to offset? report as priority claims
Hino D petits to pension or profit-sharing plans, and other similar debts
O ves WW other. specif
pacity
At&t Mobile Last 4 digits of account number $1,917.00
ee

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

Oo Contingent
D unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

OO student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority daims

oO Debts to pension or profit-sharing plans, and other similar debts

Mt other, Specify

 

 

 

Capital One Bank

Nonpriority Creditor's Name

10700 Capitol One Way
Glen Allen, VA 23060-9243
Number Street City State Zip Code
Who incurred the debt? Check one.

 

Hi Debtor 1 only

O1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

D1 Atiaast one of the debtors and another

D1 check if this clalm is for a community
debt
Is the claim subject to offset?

Hino
OD ves

Last 4 digits of account number $1,279.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

CI contingent

DO unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
0 student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O pebts to pension or profit-sharing plans, and other similar debts

Wi other. Specify

 

 

Official Farm 106 E/F
Software Copyright (c) 2019 CINGroup - www.cincompass.com

Schedule E/F: Creditors Who Have Unsecured Cialms

Page 2 of 7
Debtor 1 Sanders, Beth Nanonka

Enhanced Recovery Company

Nonpriority Creditor's Name

PO Box 57547
Jacksonville, FL 32241-7547
Number Street City State Zip Code

Who incurred the debt? Check one.

a Debtor 1 only

O1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

D1 check ff this claim is for a community
debt
ts the claim subject to offset?

a Na
Dyes

Case 19-18880 Doc 1

Filed 06/28/19 Page 19 of 43

Case number ff known)

Last 4 digits of account number

$1,786.00

 

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

Oo Contingent

D unliquidated

Oo Disputed

Type of NONPRIORITY unsecured claim:
O student loans

0 Obligations arising out of a separation agreement ot divorce that yau did nat
report as priority claims

1 Debts to pension or profit-sharing plans, and other similar debts

I other. Specify

 

 

 

Exeter Finance, LLC
Nonpriority Creditors Name

PO Box 166097

Irving, TX 75016-6097

Number Street City State Zip Code

Who Incurred the debt? Check one.

a Debtor 1 only

D1 Debtor 2 only

C1 Debtor 1 and Debtor 2 only

C1 Atteast one of the debtors and another

O Check if this claim is for a community
debt
Is the claim subject to offset?

Hino
O ves

Last 4 digits of account number $1 9,337.00

When was the debt incurred?

 

As of the date you file, the claim is; Check ail that apply

Oo Contingent

0 unliquidatea

Oo Disputed

Type of NONPRIORITY unsecured claim:
C1 student loans

O Obligations arising out of a separation agreement or divarce that you did not
report as priority claims

D vets to pension or profit-sharing plans, and other similar debts

Wi other. Specify

 

 

 

 

 

 

 

 

First Premer Bank Last 4 digits of account number $542.00
Nonpriority Creditor's Name
When was the debt incurred?
3820 N Louise Ave
Sioux Falls, SD 57107-0145
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who Incurred the debt? Check one.
u Debtor 1 only QO Contingent
OD Debtor 2 onty 0 unliquidated
01 Debtor 1 and Debtor 2 only O Disputed
OT Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bina O bebts to pension or profit-sharing plans, and other similar debts
O ves WH other. Specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 7

Software Copyright (c) 2019 CINGroup - www.cincompass,com

 
 

Case 19-18880 Doc 1

Debtor1 Sanders, Beth Nanonka

 

Patient First
Nonpriority Creditors Name

5000 Cox Rd
Glen Allen, VA 23060-9263
Number Street City State Zip Cade

Who incurred the debt? Check one,

a Debtor 1 only

D1 Debtor 2 only

O1 Debtor 4 and Debtor 2 only

DI Atleast one of the debtors and another

CO check if this claim is for a community
debt
Is the claim subject to offset?

Mino
O ves

Filed 06/28/19 Page 20 of 43

Case number (f known)

Last 4 digits of account number

$170.00

 

When was the debt incurred?

 

As of the date yau file, the claim is: Check all that apply

Oo Contingent

O unliquidated

D pisputed

Type of NONPRIORITY unsecured claim:
0 Student loans

0 Obligations arising out of a separation agreement or divarce that you did not
report as priority claims

OD petbts to pension or profit-sharing plans, and other similar debts

MH other. Specity

 

 

 

Portfolio Recovery Associates
Nonpriority Creditor's Name

120 Corporate Blvd Ste 100
Norfolk, VA 23502-4952

Number Street City State Zip Code

Who incurred the debt? Check one,

a Debtor 1 only

O debtor 2 only

O1 Debtor 1 and Debtor 2 only

01 Atleast one of the debtors and another

C1 check if this claim is for a community
debt
Is the claim subject to offset?

a No
O ves

Last 4 digits of account number $1,014.00
~~ tee

When was the debt incurred?

 

As of the date you file, the claim is; Check all that apply

Oo Contingent

Oo Unliquidated

Oo Disputed

Type of NONPRIORITY unsecured claim:
DD student loans

0 Obligations arising out of a separation agreement or divarce that you did not
report as priority claims

O pebts to pension or profit-sharing plans, and other similar debts

WF other. Specify

 

 

 

Progressive Leasing
Nonpriority Creditors Name

256 W Data Dr

Draper, UT 84020-2315

Number Street City State Zip Code

Who Incurred the debt? Check one,

Wi vebtor 4 only

D Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

C1] Check if this claim is for a community
debt
Is the claim subject to offset?

Bnto
O yes

Last 4 digits of account number $4,000.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

oOo Contingent

o Unliquidated

Oo Disputed

Type of NONPRIORITY unsecured claim:
D student toans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

WF other, Specify

 

 

Official Form 106 E/F

Software Copyright (¢) 2019 CINGroup - www.cincompass.com

Schedule E/F: Creditors Who Have Unsecured Claims

Page 4 of 7

 
Debtor 1 Sanders, Beth Nanonka

Case 19-18880 Doc 1

 

 

 

Filed 06/28/19 Page 21 of 43

Case number (f known)

 

 

 

 

 

 

Nanpriority Creditors Name

7206 Hull Street Rd Ste 211
Richmond, VA 23235-5826
Number Street City State Zip Code

Who Incurred the debt? Check one.

a Debtor 1 only

D2 Dabtor 2 only

C1 Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

1 Check if this claim is for a community
debt
Is the clalm subject to offset?

a No
O yes

Provident Bank Last 4 digits of account number $1,376.20
Nanpriority Creditors Name
When was the debt incurred?
5457 Baltimore National Pike
Baltimore, MD 21229-2102
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one,
a Debtor 1 only Oo Contingent
O1 Debtor 2 only Oo Untiquidated
O1 Debtor 1 and Debtor 2 only Oo Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Cheek if this claim is for a community O Student loans
debt Oo Obligations arising out of a separation agreement or divarce that you did not
Is the clalm subject to offset? report as priority claims
nH No D) cetts to pension or profit-sharing plans, and other similar debts
O ves WH other. Specify
Receivables Management Last 4 digits of account number $154.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

0 Contingent
aq Unliquidated

QO Disputed
Type of NONPRIORITY unsecured claim:
C1 student loans

QO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D petits to pension or profit-sharing plans, and other similar debts

WH other, Specify

 

 

 

Regional Acceptance Corp.
Nanpriority Creditors Name

1424 E Fire Tower Rd # E
Greenville, NC 27858-4105
Number Street City State Zip Code
Who Incurred the debt? Check one,

 

a Debtor 1 only

DI Debtor 2 only

C1 Debter 1 and Debtor 2 only

D1 Atleast ona of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

Hino
O yes

Last 4 digits of account number $12,947.00

When was the debt incurred?

As of the date you file, the claim is; Check all that apply

Oo Contingent

D0 unliquidated

0 Disputed

Type of NONPRIORITY unsecured claim:
1 student loans

Oo Obligations arlsing out of a separation agreement or divorce that you did not
report as priority claims

D Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify

 

 

Official Form 106 E/F
Software Copyright {c) 2019 CINGroup - www.cincompass.com

Schedule E/F: Creditors Who Have Unsecured Claims

Page 5 of 7

 
Debtor 1 Sanders, Beth Nanonka

 

Sprint

Case 19-18880 Doc 1

 

Nonpriority Creditor's Name

6200 Sprint Pkwy
Overland Park, KS 66251-6117
Number Street City State Zip Code

Who incurred the debt? Check one,

a Oebtor 4 only

01 pebtor 2 only

O1 Debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

D1 Check if this claim is for a community

Filed 06/28/19 Page 22 of 43

Case number (f known)

 

Last 4 digits of account number $1,497.00
—————

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Oo Contingent
OD unliquidatea

Oo Disputed
Type of NONPRIORITY unsecured claim:
O Student loans

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditors Name

500 Technology Dr Ste 300
Weldon Spring, MO 63304-2225
Number Street City State Zip Code

Who incurred the debt? Check one.

WW Debtor 1 onty

C1 Debtor 2 only

D1 Debtor 1 and Debtar 2 only

D1 Atleast one of the debtors and another

 

UO check if this claim is for a community
debt
Is the claim subject to offset?

1 | No
. Dyes

debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O pvebts to pension or profit-sharing plans, and other similar debts
O ves MM other. Specify
T-Mobile Last 4 digits of account number $289.00
Nanpriority Creditor's Name
When was the debt incurred?
12920 SE 38th St
Bellevue, WA 98006-1350
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one,
i Debtor 1 onty O contingent
D Debtor 2 only OD untiquidatea
D Debtor 1 and Debtor 2 only | Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community D student loans
debt 0 Obligations arising out of a separation agreement or divarce that you did not
Is the claim subject to offset? report as priority claims
Hino O cebts to pension or profit-sharing plans, and other similar debts
O yes Mother. Specify
Verizon Last 4 digits of account number $2,286.00
——_—_——— — eee

When was the debt incurred?

As of the date you fila, the claim is; Check all that apply

Oo Contingent

Oo Untiquidated

O pisputed

Type of NONPRIORITY unsecured claim:
O1 student loans

Oo Obligations arising out af a separation agreement or divarce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

WH other. Specify

 

 

GERERME List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a dabt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here, Similarly, If you
have more than one creditor for any of the debts that you listed In Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F
Software Copyright (c) 2019 CINGroup - www.cincompass.com

Schedule E/F: Creditors Who Have Unsecured Claims

Page 6 of 7

 
6a,

Total claims
from Part 1 6b,

6c.
6d.

Ge,

6f,

Total claims
from Part 2 6g.

6h.
Gi,

6.

 

Official Form 106 E/F

Case 19-18880 Doc1 Filed 06/28/19 Page 23 of 43

Debtor 1 Sanders, Beth Nanonka

GERZMME Ada the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159, Add the amounts for each
type of unsecured claim.

Domestle support obligations

Taxes and certaln other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other, Add all other priority unsecured daims. Write that amount here.

Total Priority, Add lines 6a through 6d,

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Add all other nonpriority unsecured claims. Write that amount
here.

Total Nonpriority. Add lines 6f through 6i.

Schedule E/F: Creditors Who Have Unsecured Claims

Software Copyright (c) 2019 CiNGroup - www.cincompass.com

Ga,

6b,
Gc.
6d,

Ge.

6f.

6g.
6h,
6i.

6j.

Case number ¢f known)

 

 

 

 

 

 

 

 

 

 

Total Claim
§ 0,00
§ 0.00
§ 0.00
§ 0.00
$s 0.00
Total Claim
§ 0.00
§ 0.00
§ 0.00
5 51,970.62

 

 

 

s_ 54,970.62

 

 

Page 7 of 7
 

Case 19-18880 Doc1 Filed 06/28/19 Page 24 of 43

Fill in this information to identify your case:

Debtor 1 Beth Nanonka Sanders
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF MARYLAND, BALTIMORE DIVISION

 

Case number
(if known) 0 Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12445

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
MB No, Check this box and file this form with the court with your other schedules, You have nothing else to report on this form.
O Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State-and:ZIP Code

21

Name

Number Street

City State ZIP Code
2,2

Nama

Number Street

City State ZIP Code
2.3

Name

Number Street

City State ZIP Coda
2.4

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Farm 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

Software Copyright (c) 2019 CiNGroup - www.cincompass.com
Case 19-18880 Doc1 Filed 06/28/19 Page 25 of 43

Fill in this information to identify your case:

Debtor 1 Beth Nanonka Sanders
First Name Middle Name Last Name

Debtor 2
{Spouse if, filing} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: © DISTRICT OF MARYLAND, BALTIMORE DIVISION

 

Case number
(if known) 0 Check if this is an
amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

 

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known), Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

HNo
CQ Yes

2, Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Hi No. Go to line 3.
UD Yes. Did your spouse, former spouse, or legal equivalent live with yau at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out

Column 2.
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:

 

D Schedule D, line
Name 1 Schedule E/F, line
(1 Schedule G, line

 

 

Number Street
City State ZIP Code

 

0 Schedule D, line
Name C1 Schedule E/F, line
O Schedule G, line

 

 

 

 

Number Street
Chy State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

Software Copyright (c) 2019 CINGroup - www.cincompass.com
Case 19-18880 Doc1 Filed 06/28/19 Page 26 of 43

Fill in this information to identif
Debtor 1 Beth Nanonka Sanders

Debtor 2
(Spouse. if filing)

 

United States Bankruptcy Court forthe: _DISTRICT OF MARYLAND, BALTIMORE DIVISION

 

Case number Check if this is:

{i known) C) An amended filing

C) A supplement showing postpetition chapter 13
income as of the following date:

 

 

Official Form 1061 uMTODIVW
Schedule I: Your Income 42115,

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information, If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

{

 

Fill in your employment

information, Debtor 1 Debtor 2 ar non-filing spouse
Ir you have more than one {cb, Employment status a Employed CJ Employed

information about additional C1 Not employed 11 Not employed

amplayers. Occupation Director of Sales

 

Include part-time, seasonal, or . .
self-employed work. Employer's name Holiday Inn Express

Occupation may include student or Employer's address 7481 Ri R
homemaker, if it applies. rat pidge & 9 107631 22

 

How long employed there? 4 years

GEXZSEEEE Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated,

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

For Debtor. 1 For Debtor 2 or.
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 $ 3,333.33 § NIA
3. Estimate and list monthly overtime pay. 3 +9 0.00 86+$ NIA
4, Calculate gross Income, Add line 2 + line 3. 4. 1$ 3,333.33 | | $ N/A

 

Official Form 1061 Schedule I: Your Income page 1

 
Debtor 1

5a,
5b.
5c.
5d,
5e.
5f,
5g.
5h.

8a.

8b.
8c,

8d,
8e.
8.

8g.
8h.

Case 19-18880 Doc1 Filed 06/28/19 Page 27 of 43

Sanders, Beth Nanonka

 

Case number (if known)

 

 

 

 

 

Specify:

For Debtor 1. For Debtor 2 or
fon-filing spouse
Copy line 4 here 4° § 3,333.33 $ NIA
5. List all payroll deductions:
Tax, Medicare, and Social Security deductions 5a $ 254.98 $ N/A
Mandatory contributions for retirement plans 5b. §$ 0.00 $§$ N/A
Voluntary contributions for retirement plans 5c. $ 0.00 §$ NIA
Required repayments of retirement fund loans Sd. §$ 0.00 §$ N/A
Insurance Se $ 0.00 § N/A
Domestic support obligations Sf. § 0.00 $ NIA
Union dues 5g. $ 0.00 § N/A
Other deductions. Specify: Sh.+ § 0.00 +$ N/A
6. Add the payroll deductions, Add lines 5at+5b+5c+5d+5e+5f+5g+5h, 6 254.98 $ N/A
7, Calculate total monthly take-home pay. Subtract line 6 from line 4. 7% 6 § 3,078.35 $ N/A
8. List all other income regularly received:
Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a $ 0.00 § N/A
Interest and dividends ab. §$ 0.00 § N/A
Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. &. = §$ 0.00 §$ N/A
Unemployment compensation ad.  §$ 0.00 «§ N/A
Social Security Be § 0.00 § N/A
Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies,
Specify: oF. 6 § 0.00 §$ N/A
Pension or retirement income 8g. §$ 0.00 § N/A
Other monthly income. Specify: 8h.+ § 0.00 + $ NIA
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9 1$ 0.00 | | $ Nia
10, Calculate monthly income. Add line’7 + line 9, 10.]$ 3,078.35 | +|$ N/A|=|3 3,078.35
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
1 +$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 8.35
Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12. | $ 3,078.
Combined

13, Do you expect an increase or decrease within the year after you file this form?

oO

Official Form 1061

 

 

 

 

 

 

 

 

 

 

 

 

 

No,

 

 

 

monthly income

 

Yes. Explain: [

 

Schedule I: Your Income

page 2

 

 
 

 

Case 19-18880 Doc1 Filed 06/28/19 Page 28 of 43

Fill in this information to identify your case’

 

 

Debtor 1 Beth Nanonka Sanders Check if this is:
O Anamended filing
Debtor 2 © A supplement showing postpetition chapter 13
(Spouse, if filing) expenses as of the following date:
United States Bankruptcy Court for thes +DISTRICT OF MARYLAND, BALTIMORE MM/DD/YYYY

DIVISION

Case number
(tf known)

 

Official Form 106J
Schedule J: Your Expenses 42145

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

 

Describe Your Household
4. 4s this a joint case?

Hf No. Go to line 2.
O Yes. Does Debtor 2 live in a separate household?

ONo
D Yes, Debtor 2 must file Official Form 106J-2,Expenses for Separate Householdof Debtor 2.
2. Doyou have dependents? (C]) No

Do not list Debtor 1 and ves Fill out this information for Dependent’s relationship to Oependent’s Does dependent
Debtor 2. * each dependentssrnssreers o 1 or Debtor 2 li Ith you?

    

OONo
dependents names. Daughter 17 Wives

Do not state the

 

ONo
O Yes
ONo
D Yes
OONo
O Yes

 

 

 

3. Do your expenses include HNo
expenses of people other than Ov
yourself and your dependents? es

Esti Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed, If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your income

 

(Official Form 1061) Your expenses

4, The rental or home ownership expenses for your residence, Include first mortgage 4,600.00
payments and any rent for the ground or lot. »$ s :
If not included in line 4:
4a, Real estate taxes 4a, $ 0.00
4b. — Property, homeowner's, or renter's insurance 4b. $ 20.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d, Homeowner's association or concominium dues 4d. $ 0.00

§. Additional mortgage payments for your residence, such as home equity loans 5, § 0.00

Official Form 106J Schedule J: Your Expenses page 4

 

 

 
Case 19-18880 Doc 1

Filed 06/28/19 Page 29 of 43

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Sanders, Beth Nanonka Case number (if known)
6. Utilities:

6a, Electricity, heat, natural gas 6a $ 150.00

6b. Water, sewer, garbage collection 6b. $ 60.00

6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 250.00

6d. Other. Specify: 6d. $ 0.00
7, Food and housekeeping supplies 7. § 300.00
8, Childcare and children’s education costs 8 §$ 0.00
9. Clothing, laundry, and dry cleaning 9% $ 0.00
10. Personal care products and services 10. § 100,00
11. Medical and dental expenses 41. §$ 0.00
12. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments. 12. §$ 0.00
13, Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 100.00
14. Charitable contributions and religious donations 14. $ 0.00
15, Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a, Life insurance 15a. § 0.00

15b. Health insurance 15b, § 0.00

15c. Vehicle insurance 15c, $ 250.00

15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a, $ 379.00

17b, Car payments for Vehicle 2 170, §$ 0.00

17¢. Other. Specify: 7c. $ 0.00

17d, Other. Specify: 17d, $ 0.00
18, Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule |, Your income (Official Form 1061). 18, $ 6.00
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your income.

20a. Mortgages on other property 20a. $ 0.00

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowner's, or renter's insurance 20c. $ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00

20e. Homeowner's association or condominium dues 200. $ 0.00
21, Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses

22a, Add lines 4 through 21. $ 3,209.00

22b, Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $

22c, Add line 22a and 22b. The result is your monthly expenses. $ 3,209.00
23, Calculate your monthly net income.

23a, Copy line 12 (your combined monthly income) fram Schedule |. 23a, $ 3,078.35

23b. Copy your monihly expenses from line 22c above. 23b. -$ 3,209.00

. tht t monthly income.

Re eee aay maaan mre ses 30.85

24, Do you expect an increase or decrease in your expenses within the year after you file this form?

Official Form 106J

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

Modification to the terms of your mortgage?

Mo.

 

 

 

0 Yes. | Explain here:

 

Schedule J: Your Expenses

page 2
Case 19-18880 Doc1 Filed 06/28/19 Page 30 of 43

      
 

Fillin this information to identify your case:

 

Debtor 1

  

 
    
  

Beth Nanonka Sanders
First Nama Middla Name

    
   

Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

  
   
  
   
 

 

United States Bankruptcy Caurt for the:

 

DISTRICT OF MARYLAND, BALTIMORE DIVISION on test Fey UES 4

TOY SUR
- e h “
RYLAND

ty

  

Case number
{if known)

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible fer supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both, 18 U.S.C. §§ 152, 1341, 1619, and 3571.

i Stan Below

Did you pay or agree to pay someone who is NOT an attomey to help you fill out bankruptcy forms?

wm No

Ci Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

Under penalty of perjury, | declare that

ve read the summary and schedules filed with this declaration and
that they are true and correct.

  
 
   

X {si Beth Nanonka Sanders x

Beth Nanonka Sanders ( > Signature of Debtar 2
Signature of Debtor 1

Date June 28, 2019 Date

 

 

 
Case 19-18880 Doc1 Filed 06/28/19 Page 31 of 43

Fill in this information to identify your case:

 

 

 

Debtor 1 Beth Nanonka Sanders

First Name Middie Name LastName
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF MARYLAND, BALTIMORE DIVISION

  

 

 
 

Case number
{if known)

 
  

oO check hig isan” t

amended filing

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4itg

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question,

Give Details About Your Marital Status and Where You Lived Before

1, What is your current marital status?

O Married
O Not married

2. During the last 3 years, have you lived anywhere other than where you live now?
M@ No
O01 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates:Debtor 1 lived Debtor 2 Prior Address: Dates Debtor 2
there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent In a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

M No
0 sYes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Gaul Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

M@ No
O Yes. Fillin the details.
Debtor 14 Debtor-2
Sources of income Gross income Sources of income Gross.income
Check all that apply. (before deductions and Check all'that apply. (before deductions
exclusions) and exclusions)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

Software Copyright (c) 2019 CINGroup - www.cincompass.com

 
 

 

 

Case 19-18880 Doc1 Filed 06/28/19 Page 32 of 43

Debtor? Sanders, Beth Nanonka Case number (it known)

 

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable, Examples of other income are alimony; child support; Social Security, unemployment, and
other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits: royalties; and gambling and lottery winnings. If
you are filing a joint case and you have income that you received together, list it only once under Debtor 1,

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

M No
OD Yes. Fill in the details.

Debtor 1 Debtor-2

Sources of income Gross income from Sources: of income Gross income

Describe: below, each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

[EEREREE List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

O No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as “incurred by an
individual primarity for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $8,825* or more?
Oo No, Go to line 7,
1 ves List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
payments to an attorney for this bankruptcy case,

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

HM Yes. Debtor 4 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Hino. Gotoline7.

O Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
payments for domestic support obligations, such as child support and alimany, Also, do not include payments to an attorney for
this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

M No
O Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe
8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.
M No
Q Yes. List all payments to an insider
Insider's Name and Address Dates of payment Total amount Amount you Reason for'this payment
paid stillowe — Include creditor's name

GERZSME identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

Software Copyright (c) 2019 CINGroup - www.cincompass.com
 

Case 19-18880 Doc1 Filed 06/28/19 Page 33 of 43

Debtor1 Sanders, Beth Nanonka Case number (if known)

 

and contract disputes.

HM No
O Yes. Fill in the details,

Case title Nature of the case Court or agency Status. of the case
Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.
HE Nao. Goto line 11.
0 sYes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value of the
property
Explain what happened

41. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

HM No
O Yes. Fill in the details,

Creditor Name and Address Describe the action the creditor took Date action was Amount
taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

@ No
O Yes

GEREGHHE List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

HB No
O Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 per Describe.the gifts Dates you gave Value
person the gifts

Person to Whom You Gave the Gift and
Address:
44, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
M@ No
0 sYes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed

Charity's Name

Address (Numbar, Street, City, State and ZIP. Cade)

iParté: (RES Certain Losses

15. Within 4 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

M No
O Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred Include the amount that insurance has paid. List pending 5S lost
insurance claims on line 33 ofSchedule A/B: Property.

List Certain Payments or Transfers

16, Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you

Official Farm 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

Software Gopyright (¢) 2019 CINGroup - www,cincompass.com

 
 

 

Debtor1 Sanders, Beth Nanonka

17.

18.

Case 19-18880 Doc1 Filed 06/28/19 Page 34 of 43

Case number (it known)

 

consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
ME Yes. Fill in the details.

Person Who Was Paid Description and value of any property

Date payment or. Amount. of
Address transferred transfer was payment
Email or website address made
Person Who Made the Payment, if Not: You
0.00 $0.00

 

Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16,

HM No
O Yes. Fill in the details.
Person Who Was Pald

Description and value of any property Date payment or Amount of
Address transferred transfer was payment
made

Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
gifts and transfers that you have already listed on this statement.

BM No

Os Yes. Fill in the details.

Person Who Received Transfer

Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made
paid in exchange
Person's relationship to you

Within 10 years before you filed for bankruptey, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

@ No
Os Yes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was

made

GEE List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.

21.

Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

HM No
Yes. Fillin the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance before.
Address (Number, Street, Clty, State and ZIP account number instrument closed, sold, closing-or transfer
Code) moved, or

transferred

Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

M No
O Yes. Fill in the details.
Name of Financial Institution

Who else had access to It? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Strest, City, State have it?
and ZIP Code)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

Software Copyright (¢) 2019 CINGroup - www,cincompass,com
 

 

Case 19-18880 Doc1 Filed 06/28/19 Page 35 of 43

Debtor1 Sanders, Beth Nanonka Case number (if known)

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

HM No
0 sYes. Fill in the details,
Name of Storage Facility Who else has.or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?
Address (Number, Street, City, State
and ZIP Code}

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for

someone.
HM No
O Yes. Fillin the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)
Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

HM Environmental taw means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, ground , or other medium, including statutes or regulations
controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, contaminant, or similar term.

 

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

M No

O Yes, Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, Stata and ZIP Coda) Address (Number, Street, Clty, State and know it

ZIP Code}

25. Have you notified any governmental unit of any release of hazardous material?

M@ No
OD Yes. Fill in the details,

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it
ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

M No
DsYes, Fillin the details,

Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City, State
and ZIP Code)

Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed far bankruptcy, did you own a business or have any of the following connections to any business?
OC) Asole proprietor or self-employed in a trade, profession, or other activity, either fulltime or part-time
0 Amember of a limited liability company (LLC) or limited liability partnership (LLP)

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page §

Software Copyright (c) 2019 CINGroup - www.cincompass.com
Case 19-18880 Doc1 Filed 06/28/19 Page 36 of 43

Debtor1 Sanders, Beth Nanonka Case number (if known)

 

O A partner in a partnership
0 An officer, director, or managing executive of a corporation
CD An owner of at least 5% of the voting or equity securities of a corporation
MI No. None of the above applies. Go to Part 12.
0 Yes. Check all that apply above and fill in the details below for each business.
Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.

(Number, Street, City, State and ZIP Code} Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

HM No
(1s Yes, Fill in the details below.
Name Date Issued

Address
(Number, Street, City, State and ZIP Code).

EXUREM sign Below

| have read the answers on this Staiement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers are
true and correct, | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fine, prisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, an

  
 

is! Beth Nanonka Sander:

Beth Nanonka Sanders / C y Signature of Debtor 2
Signature of Debtor 1

 

 

 

Date June 28, 2019 Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
Hino
O Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
BNo
0 Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107 Statement of Financial Affairs for Individuals Fiting for Bankruptcy page 6

Software Copyright (¢) 2019 CINGroup - www.cincompass.com
© 2019 CINgroup 1.866.218.1003 — CINcompass (www.cincompass.com)

Case 19-18880 Doc1 Filed 06/28/19 Page 37 of 43

United States Bankruptcy Court
District of Maryland, Baltimore Division
IN RE: Case No.

Sanders, Beth Nanonka Chapter 7
Debtor(s)

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.

Date: June 28, 2019 _. Signature: /s/ Beth Nanonka Sanders / ? fee

” ” Beth Nanonka Sanders oN SS Debtor

Date: . Signature:

 

Joint Debtor, if any

 
Case 19-18880 Doc1 Filed 06/28/19

A and G Management
7779 New York Ln

Glen Burnie, MD 21061-5616

Aarons Sale and Lease
1015 Cobb Place Blvd NW

Kennesaw, GA 30144-3672
At&t Mobile
PO Box 10330
Fort Wayne, IN 46851-0330

Capital One Bank
10700 Capitol One Way
Glen Allen, VA 23060-9243

CNAC Auto Finance

2345 W Jefferson St # Strreet
Joliet, IL 60435-6445

Enhanced Recovery Company
PO Box 57547
Jacksonville,

FL 32241-7547

Exeter Finance, LLC
PO Box 166097
Irving, TX 75016-6097

Page 38 of 43

cg 82 HOE He

.
.

 

62

 
 

 

Case 19-18880 Doc1 Filed 06/28/19

First Premer Bank
3820 N Louise Ave
Sioux Falls, SD 57107-0145

Patient First
5000 Cox Rd
Glen Allen, VA 23060-9263

Portfolio Recovery Associates
120 Corporate Blvd Ste 100
Norfolk, VA 23502-4952

Progressive Leasing
256 W Data Dr
Draper, UT 84020-2315

Provident Bank
5457 Baltimore National Pike
Baltimore, MD 21229-2102

Receivables Management
7206 Hull Street Rd Ste 211
Richmond, VA 23235-5826

Regional Acceptance Corp.
1424 EB Fire Tower Rd # E
Greenville, NC 27858-4105

Page 39 of 43

 
 

 

Case 19-18880 Doc1 Filed 06/28/19

Sprint
6200 Sprint Pkwy
Overland Park, KS 66251-6117

T-Mobile
12920 SE 38th St
Bellevue, WA 98006-1350

Verizon
500 Technology Dr Ste 300
Weldon Spring, MO 63304-2225

Page 40 of 43
 

 

Case 19-18880 Doc1 Filed 06/28/19

A and G Management
7779 New York Ln
Glen Burnie, MD 21061-5616

Aarons Sale and Lease
1015 Cobb Place Blvd NW
Kennesaw, GA 30144-3672

At&t Mobile
PO Box 10330
Fort Wayne, IN 46851-0330

Capital One Bank
10700 Capitol One Way
Glen Allen, VA 23060-9243

CNAC Auto Finance
2345 W Jefferson St # Strreet
Joliet, IL 60435-6445

Enhanced Recovery Company
PO Box 57547
Jacksonville, FL 32241-7547

Exeter Finance, LLC
PO Box 166097
Irving, TX 75016-6097

Page 41 of 43
 

Case 19-18880 Doc1 Filed 06/28/19

First Premer Bank
3820 N Louise Ave
Sioux Falls, SD 57107-0145

Patient First
5000 Cox Rd
Glen Allen, VA 23060-9263

Portfolio Recovery Associates
120 Corporate Blvd Ste 100
Norfolk, VA 23502-4952

Progressive Leasing
256 W Data Dr
Draper, UT 84020-2315

Provident Bank
5457 Baltimore National Pike
Baltimore, MD 21229-2102

Receivables Management
7206 Hull Street Rd Ste 211
Richmond, VA 23235-5826

Regional Acceptance Corp.
1424 E Fire Tower Rd # E
Greenville, NC 27858-4105

Page 42 of 43
 

 

Case 19-18880 Doc1 Filed 06/28/19

Sprint
6200 Sprint Pkwy
Overland Park, KS 66251-6117

T-Mobile
12920 SE 38th St
Bellevue, WA 98006-1350

Verizon
500 Technology Dr Ste 300
Weldon Spring, MO 63304~2225

Page 43 of 43
